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                EXHIBIT 140
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                                                                          Page 1
                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF ALABAMA
                                    SOUTHERN DIVISION
                                        )
                                        )
             RODNEY K., SR., MARY K., )
             MARY K., GUARDIAN AD       )
             LITEM FOR R.K., JR.,       )
             MINOR; STACEY S.T. AND     )     CIVIL ACTION NO.
             G.T.B., MINOR, BY HIS      )     1:18‐cv‐343‐TFM‐N
             GUARDIAN AD LITEM STACEY )
             S.T.; KENNESHA Q. AND      )
             COLBY Q. AND J.C., MINOR, )
             BY HIS GUARDIAN AD LITEM )
             KENNESHA Q.,               )
                                        )
                                        )
                       Plaintiffs,      )
                                        )
             VS.                        )
                                        )
                                        )
             MOBILE COUNTY BOARD OF     )
             EDUCATION, et al.,         )
                                        )
                                        )
                       Defendants.      )

                   ********************************************
                        VIDEO CONFERENCE DEPOSITION OF:
                              NORMAN J. POLLARD

                   ********************************************
                                MARCH 4TH, 2021
                              MOBILE BAY REPORTING
                               110 DAUPHIN STREET
                                MOBILE, AL. 36602
                                    9:00 A.M.



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     1                it?
     2         A.     Well, working on a college campus where
     3                there's that same behavior of sharing the
     4                information that ‐‐ for example, we have
     5                staff that monitors Facebook, Twitter,
     6                Snapchat, the different ways that students
     7                communicate, that they look and they also
     8                ask.
     9         Q.     You have staff that monitors students'
    10                Facebook, Twitter and Snapchat; is that what
    11                you're saying?
    12         A.     Not specific students individually for that,
    13                but trying to have a pulse of the campus is
    14                really important.
    15         Q.     Okay.   Anyway, it doesn't appear at this
    16                point to be part of your opinion.          I was just
    17                more curious.     So you talked about Jeremiah
    18                Chatman and then some kids in the locker room
    19                and Rodney Kim being on social media?
    20         A.     Correct.
    21         Q.     All right.   And obviously you say unbeknownst
    22                to school officials; so you would agree that
    23                the school officials were not aware of these

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                                                                          Page 72
     1                incidences that were on what you term social
     2                media?
     3         A.     Well, more importantly, it seemed as though
     4                that they're unaware that it was occurring on
     5                school grounds.
     6         Q.     Okay.    But you agree that they were unaware
     7                that it was occurring on school grounds?
     8         A.     Correct.
     9         Q.     All right.   And ‐‐
    10         A.     Well, there were incidents where coaches
    11                walked in when different concerning behavior
    12                was being exhibited.      I don’t know if it
    13                necessarily was being recorded, but they
    14                observed it and seemingly walked away from
    15                them.
    16         Q.     Okay.    And you're, I guess, referencing to
    17                what some of the students said in their
    18                interviews; is that correct?
    19         A.     That’s correct, yes.
    20         Q.     But at least as far as the Rodney Kim and the
    21                Jeremiah Chatman and the incident in the
    22                locker room, you would agree that school
    23                officials were not aware of those activities?

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     1         A.     Well, there was an earlier incident with
     2                Rodney where my understanding it had to do
     3                with the shaving cream and being slapped and
     4                beaten with belts, and Coach Eubanks observed
     5                it and said knock it off.        So there was some
     6                awareness of that, if I remember correctly
     7                from Rodney's deposition.
     8         Q.     Again, you know, I'm just taking your words
     9                and I'm trying to find out what you're
    10                saying.   But you said unbeknownst to school
    11                officials, so by saying that, I guess are you
    12                taking that back that you're now saying that
    13                they were known to school officials?
    14         A.     No, I'm sorry.     I didn't mean to cause
    15                confusion.
    16         Q.     Okay.    All right.
    17         A.     That they're unbeknownst to it being on
    18                social media.
    19         Q.     Okay. And this is probably as good a time as
    20                any to ask you this.       I represent the school
    21                board.    Do you have any evidence, knowledge,
    22                or opinion as to whether any individual
    23                school board member had actual knowledge of

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     1                what was going on at Davidson?
     2         A.     My recollection from their depositions is
     3                that they had ‐‐ none of the board members
     4                had any idea.
     5         Q.     Okay.   Fair enough.      And you don't have
     6                anything that would dispute that; is that
     7                fair?
     8         A.     Well, other than ‐‐ is it Lyman Collins, that
     9                his mom mentioned to Dr. Cleveland a
    10                complaint about some of the behavior.
    11         Q.     About some type of behavior of Coach Riley,
    12                correct?
    13         A.     That’s correct.
    14         Q.     All right.   And I don’t represent Dr.
    15                Cleveland, so I can't speak for her.           But as
    16                far as you know, you have no evidence to
    17                dispute the fact that the board members,
    18                individually and collectively, had no actual
    19                knowledge of what was allegedly going on in
    20                the Davidson locker room?
    21         A.     Correct.
    22         Q.     Okay.   If you'll go to the next page, second
    23                to the last paragraph; you say that, "The

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     1                coaches and administrators had significant
     2                control, power and influence over the
     3                students and the Davidson High School
     4                community."   And I'm assuming that you are
     5                saying that in a general term in that all
     6                coaches, teachers and administrators in a
     7                high school have certain control over their
     8                students; is that a fair statement?
     9         A.     I think it reflects, you know, the concept of
    10                "local printing," that they are charged with
    11                the oversight of the students.
    12         Q.     Right.   So when you reference Davidson High
    13                School community, it could be any high school
    14                community that this statement would apply to;
    15                is that a fair ‐‐
    16         A.     Correct.
    17         Q.     Correct?
    18         A.     Yes, that's fair.
    19         Q.     Now, the next paragraph you say, "Usually
    20                neither a new member nor their parents has
    21                context or knowledge of the inner‐workings of
    22                high school athletics."      And that's in a
    23                general term; is that correct?

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     1         Q.     Okay.     And so you've studied that particular
     2                section, correct?
     3         A.     I've reviewed it, yes.
     4         Q.     And have you got a copy of that in front of
     5                you?     Did you do the entire code section in
     6                your report?      I'm talking about 16‐1‐23, the
     7                hazing.     I'm sorry.     Yes, that's it.      That's
     8                the one I'm talking about, the hazing.             All
     9                right.
    10                        Section D, which I guess is on the next
    11                page, says, "Any person who shall commit the
    12                offense of hazing shall be guilty of a Class
    13                C misdemeanor as defined by Title 13A; is
    14                that correct?
    15         A.     Yes.
    16         Q.     Do you know whether or not any of the coaches
    17                were ever charged with hazing?
    18         A.     It's my understanding that the ‐‐ that there
    19                were no criminal charges brought against the
    20                coaches.
    21         Q.     Or the administrators at Davidson High
    22                School?
    23         A.     That's my understanding.

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     1         Q.     Okay.     And you understand that encouraging or
     2                assisting in hazing is also considered an
     3                offense, correct?
     4         A.     Yes.
     5         Q.     Then section E says, "That any organization
     6                associated with a school, college or other
     7                educational which knowingly permits hazing to
     8                be conducted shall forfeit any entitlement to
     9                public funds, scholarships, awards which are
    10                enjoyed by him or by it and shall be deprived
    11                of any sanction or approval granted by the
    12                school, college, university or other
    13                educational institution."
    14                        Do you know or you would agree that
    15                Davidson, Davidson football program, Coach
    16                Riley, nobody forfeited any entitlement to
    17                public funds or any awards or anything like
    18                that; is that a fair statement?
    19         A.     My understanding is that they did not.
    20         Q.     All right.     Now, if you go to I guess Alabama
    21                Code of Education, Section 16‐1‐24.1, which
    22                is just below that, this has to do with safe
    23                and drug‐free policies; is that correct?

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      1                to another person who has a hard time
      2                defending himself or herself."
      3         Q.     Okay.   With regards to Mr. Chatman, would the
      4                activity that you saw on that video, would
      5                that fall under bullying?
      6         A.     Why I hesitated previously is that the
      7                difference between the school's definition
      8                and the Federal Guidelines at Bullying
      9                website has to do with behaviors repeated or
     10                has a potential to be repeated over time.
     11                And what I don’t know from the information
     12                that was provided, if there were previous
     13                incidents where he was targeted, bullied and
     14                so forth and the potential for that, and if
     15                there, in fact, were incidents after this one
     16                that was recorded.
     17         Q.     So you don't know whether ‐‐ well, you would
     18                agree that it doesn't fall under the Davidson
     19                High School definition unless you have
     20                additional information, correct?
     21         A.     That’s correct.
     22         Q.     But under the bullying standards where you
     23                say that bullying is defined as unwanted

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      1                aggressive behavior among school‐age children
      2                that involves a real or perceived power
      3                imbalance, under that definition what
      4                happened to Rodney Kim, Jr. would fall under
      5                bullying, that definition, correct?
      6         A.     Well, Rodney was joining the team.         It was
      7                part of an initiation of new freshmen players
      8                coming onto the varsity team, so there was an
      9                initiation component to that.
     10         Q.     Okay.   But as far as the definition of
     11                bullying, under this federal guideline that
     12                you provided, the actions directed toward
     13                Rodney Kim, Jr. were unwanted, correct?
     14         A.     That’s correct.
     15         Q.     Aggressive behavior, correct?
     16         A.     Correct.
     17         Q.     Among school‐age children, correct?
     18         A.     Correct.
     19         Q.     And that involved a real or perceived power
     20                imbalance, correct?
     21         A.     Correct.
     22         Q.     And the behavior is repeated, we all know, or
     23                has the potential to be repeated; that could

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      1                have happened to Rodney again, correct?
      2         A.     Correct.   And the challenge oftentimes
      3                between educating about the differentiation
      4                between bullying and hazing takes some
      5                purposeful dialogue, because some people
      6                mistakenly think that that is bullying, but
      7                the component of having that behavior
      8                directed towards an individual who's trying
      9                to join a team done by his teammates in order
     10                to simply join, you know, the squad is
     11                different than being picked on by a random
     12                person walking down the hallway that may
     13                inflict the same type of pain, trauma and
     14                impact.
     15         Q.     So are you saying bullying has to be with a
     16                random person?
     17         A.     No, no.    But you're not doing it as a factor
     18                of joining a team or a club or organization.
     19         Q.     So the actions are the same but the intention
     20                is different; is that what you're saying?
     21         A.     Yes, the context is different.
     22         Q.     Okay.   So if you're just looking at
     23                something, you can't tell whether it's

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      1         Q.     All right.   Because they were, I think, taken
      2                after you did your report.      Do you intend on
      3                reading those depositions?
      4         A.     If it's provided, I will.
      5         Q.     Okay.   Are you aware that the Mobile County
      6                Public School System has an anti‐bullying
      7                program that they have implemented in
      8                conjunction with the Mobile County District
      9                Attorney’s office?
     10         A.     I'm not aware of that.
     11         Q.     So you're not aware of the extensive training
     12                and support given by the Mobile County
     13                District Attorney’s office to the school
     14                system with regards to anti‐bullying,
     15                correct?
     16         A.     Did you say it was the District Attorney's
     17                office that's doing the training on bullying?
     18         Q.     There is a program between the Mobile County
     19                School Board and the Mobile County District
     20                Attorney's office whereby, yes, the district
     21                attorney provides information, provides
     22                reports, provides a hotline and things of
     23                that nature directed at anti‐bullying.          Are

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      1                you aware of that?
      2         A.     And this was implemented before these
      3                incidents occurred?
      4         Q.     Years ago.
      5         A.     And have they evaluated the efficacy of those
      6                programs?
      7         Q.     I believe we've supplied reports in our
      8                discovery, but I'm not sure how you define
      9                the efficacy.     They do list a number of, you
     10                know, complaints they get, the number of
     11                calls they get, the number of investigations
     12                they do, the number of people they arrest,
     13                that sort of stuff.
     14         A.     Well, it will be interesting to see how they
     15                responded and reviewed after these incidents
     16                that occurred to the students.
     17         Q.     Well, certainly, you're aware that with the
     18                Rodney Kim there was a complete police
     19                investigation, and a number of the
     20                perpetrators were arrested and charged and
     21                either convicted or pled guilty, but of
     22                course they were juveniles, so a lot of that
     23                is undisclosed.     You are aware of that,

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      1                right?
      2         A.     I am aware, but I also didn't see where there
      3                was any systemic change within the school as
      4                a result of any of these incidents other than
      5                increasing the supervision in the locker
      6                room.
      7         Q.     And you don't think that that is important,
      8                to increase the supervision?
      9         A.     It's not that it's not important, it's not
     10                comprehensive.
     11         Q.     Okay.    And as far as incidents of hazing, are
     12                you aware of any incidents of hazing at
     13                Davidson High School that occurred after the
     14                Rodney Kim, Jr. incident?
     15         A.     Well, my recollection is that the ‐‐ that his
     16                occurred in spring of 2018, and then much of
     17                the information came out.       So, no, I'm not
     18                aware of additional.
     19         Q.     Okay.    Hazing incidents, correct?
     20         A.     That’s correct.
     21         Q.     All right.   Or for that matter, aware of any
     22                hazing incidences that occurred at any Mobile
     23                County Public High School subsequent to the

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      1                high school personnel."      As far as the
      2                general recommendations, I guess you provided
      3                them in your seminars; is that correct?
      4         A.     Yes, also in ‐‐
      5         Q.     I'm sorry.   But as far as actual schools or
      6                school systems, we've talked about the one up
      7                in New York and the one in Tennessee,
      8                correct?
      9         A.     We've talked about those, but I don't know
     10                what you're asking.
     11         Q.     Well, I'm trying to find out how you provided
     12                general recommendations for high school
     13                personnel.
     14         A.     In the book that was referenced, The Coaches
     15                Guide to Hazing Prevention, in there it's the
     16                actions that schools should take are
     17                articulated ‐‐
     18         Q.     Do you know whether that ‐‐ I'm sorry.
     19         A.     I was going to say also through
     20                hazingprevention.org, we provided information
     21                through that venue and the National
     22                Federation of High Schools also has provided
     23                lots of information.     In fact, two of the

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      1                coaches, Eubanks and Pope, took the online
      2                course and had a lot of those recommendations
      3                presented to them.
      4         Q.     Okay.   And I don’t represent either one of
      5                those coaches.   But as far as providing
      6                recommendations to high school personnel, you
      7                have never, at least to your knowledge,
      8                provided any recommendations to the board
      9                members or the superintendent of Mobile
     10                County Public School Systems with regards to
     11                hazing prevention?
     12         A.     I have not personally, no.
     13         Q.     Okay.   And then going, I guess, a little
     14                further down, you say, talk about "Bullying
     15                as part of the School Culture."        And state
     16                that in 2015, "School Crime Supplement for
     17                National Center for Education indicates that,
     18                nationwide, about 21 percent of students ages
     19                12 to 18 experienced bullying," correct?
     20         A.     Yes.
     21         Q.     And you included this because you think what
     22                happened to Mr. Chatman could have been
     23                bullying?

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      1         A.     Yes, it could have been.       And so I wanted to
      2                include the industry standard of the
      3                prevalence of bullying in public schools.
      4         Q.     Right.   And also, as we discussed, what
      5                happened to Rodney Kim could fall under the
      6                federal definition of bullying, correct?
      7         A.     Yes.    A lot of these behaviors could fit both
      8                definitions by specific behaviors, but the
      9                context of why and how it happened and who
     10                was involved, then it could also be included
     11                in hazing, even with Mr. Chatman.
     12         Q.     Right.
     13         A.     If part of the initiation or the expectation
     14                of the football players was to randomly jump
     15                one of a non‐football player and assault them
     16                as part of their initiation, then it could be
     17                considered hazing as well, so that's why
     18                further investigations is really critical
     19                into the motivation and in the context of
     20                these other incidents.
     21         Q.     But you have no evidence or information that
     22                what occurred to Mr. Chatman was part of a
     23                initiation into something or other; is that a

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      1                fair statement?   You're just speculating?
      2         A.     I don’t believe that they did an
      3                investigation into understanding the motive
      4                for that behavior.
      5         Q.     Well, you do realize that your attorneys
      6                represent Mr. Chatman, don't you?
      7         A.     I do.
      8         Q.     Okay.   So you have no information in front of
      9                you as to whether or not what happened to
     10                Mr. Chatman was part of some type of
     11                initiation, correct?
     12         A.     I don’t know that.
     13         Q.     All right.   And so that's a yes, I don’t have
     14                any information, correct?
     15         A.     That’s correct.
     16         Q.     All right.   And likewise, with regards to
     17                Mr. Kim, we've agreed that what happened to
     18                him easily fits the definition of bullying
     19                based on the national standard, correct? I
     20                mean, we went through it.      I don’t want to
     21                have to go through it again.
     22         A.     Okay.   But I wouldn't have included the word
     23                easily.   I think it does but...

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      1                what percentage falls somewhere in between,
      2                you're just lumping everything in the
      3                21 percent, correct?
      4         A.     I'm quoting their statistics, yes.
      5         Q.     Okay.   I see where you have actually cited
      6                the Alabama code on harassment.          So I guess
      7                you did review that code section, correct?
      8         A.     That's right.     I'm sorry.     I see that I did
      9                include this in the report.
     10         Q.     Do you know whether or not you reviewed the
     11                Alabama statute on bullying?
     12         A.     I believe I had that included in here.            No,
     13                I'm sorry, I just have Davidson.
     14         Q.     Okay.
     15         A.     So no, I don’t know that.
     16         Q.     But, clearly, you reviewed the Alabama
     17                statute on harassment, correct?
     18         A.     Yes.
     19         Q.     Okay.   Then you go on the following page:
     20                "Hazing Vs. Bullying Vs. Harassment."            And
     21                again, I think you said the context but also
     22                the intention.     Would you agree that the
     23                intention of the people who are carrying out

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      1                the acts have a lot to do with whether it's a
      2                harassment situation, a bullying situation or
      3                a hazing situation, correct?
      4         A.     I haven't seen that research to be able to
      5                say that that's true.
      6         Q.     Well, you say that the difference between the
      7                three is subtle, right?
      8         A.     Correct.
      9         Q.     And they can often be mistakenly used
     10                interchangeably, correct?
     11         A.     That's true.
     12         Q.     All right.   And is that because if you're
     13                just looking at the incident, you can't tell
     14                whether it's bullying, harassment, or hazing?
     15         A.     True.
     16         Q.     And it says that a "Significant difference is
     17                harassment usually involves singling out an
     18                individual and subjecting that person to
     19                these acts."    And I guess hazing is part of
     20                joining the group, right?
     21         A.     Yes.    Typically, a harasser or someone who's
     22                doing the bullying has no desire of a
     23                continued relationship or interaction, where

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      1                this is done to one of your teammates, that's
      2                someone that will be on the squad and with
      3                you.
      4         Q.     So, again, getting back to my original
      5                question; a lot depends on the intention of
      6                the person or persons that are performing the
      7                acts to determine whether it's bullying,
      8                harassment or hazing, correct?
      9         A.     Correct.
     10         Q.     Now, under your "Toxic Culture of Davidson
     11                Football Team," you state that "The case
     12                materials documented a cultural of
     13                harassment, bullying and hostility."         Is that
     14                right?
     15         A.     Yes.
     16         Q.     And I guess you're using that all
     17                interchangeably, harassment, bullying and
     18                hostility?
     19         A.     Yes.
     20         Q.     All right.   And is that based on, I guess,
     21                the Plaintiffs' testimony and the reports of
     22                the interviews of the players who were on the
     23                Davidson football team at the time of

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      1                Rodney's incident?
      2         A.     Yes.
      3         Q.     Okay.    When did this toxic culture start?
      4         A.     Well, in some of the material I reviewed, it
      5                seemed to be prevalent 10 years ago or so,
      6                that there were reports of it being in, I
      7                think, it was 2015, 2016 for that.          And so I
      8                don't have a definitive date of when it
      9                began.   I do know that, you know, with Tre,
     10                he was in school in 2016 when the dog pile
     11                incident occurred.
     12         Q.     And you do know that the incident involving
     13                Rodney Kim, Jr. occurred in 2018, correct?
     14         A.     Yes, April is my understanding.
     15         Q.     So, in '16, would be two years before, '17
     16                would be one year before, correct?
     17         A.     Yeah.
     18         Q.     All right.   So you originally said 10 years.
     19                So I'm trying to find out where you got the
     20                idea that this alleged toxic culture had been
     21                going on for 10 years?
     22         A.     In the material that was in the interviews by
     23                the resource officers, it's my recollection

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      1                that they were talking about incidents that
      2                happened between 2014, 2018.
      3         Q.     That's your recollection?
      4         A.     I believe so.     This was at least in some of
      5                the materials I read.       I thought it was with
      6                the resource officer interviews.
      7         Q.     Okay.   Who interviewed students, correct?
      8         A.     Yes.
      9         Q.     All right.   And some of them said that this
     10                had been going on for a year or two, correct?
     11         A.     Yes.
     12         Q.     And some of them said that it ‐‐ they had
     13                never experienced it; is that a fair
     14                statement?
     15         A.     Yes.
     16         Q.     So I guess the oldest folks that they would
     17                have talked to or students they would have
     18                talked to would have been seniors, so maybe
     19                four years; is that a fair statement?
     20         A.     It could be but for some reason I have this
     21                recollection of it occurring earlier, and I
     22                thought it was as a result of information
     23                provided in those interviews with the

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      1                        And, again, that's based on the
      2                materials that were supplied to you, correct?
      3         A.     Yes.
      4         Q.     Okay.     And then it says that according to
      5                the, I guess, investigation by "Resource
      6                Officer Eric Terry, the toxic culture of the
      7                football team was well known and in place for
      8                a significant period of time."
      9                        Now, we already discussed the period of
     10                time, at least according to the reports, was
     11                from 2000 ‐‐ could possibly be from 2014 to
     12                2018, correct?
     13         A.     Yes.
     14         Q.     And you say was well known, and by that, you
     15                mean it was well known among the student
     16                athletes?
     17         A.     Yes.     What I attempted to describe there
     18                through their statements was to show how well
     19                known it was through the interview responses
     20                to Officer Terry.
     21         Q.     Right.     But when you say it was well known,
     22                you mean it was well known among the student
     23                athletes, correct?

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      1         A.     Yes.
      2         Q.     All right.   You're not trying to say it was
      3                well known among the school board members; is
      4                that a fair statement?
      5         A.     That's true.
      6         Q.     And then you go ahead and list incidences
      7                which you say created a toxic environment,
      8                and these were all incidences that you got
      9                from either the depositions or the resource
     10                officer's report or material provided by the
     11                Plaintiff's counsel, correct?
     12         A.     Correct.
     13         Q.     And as far as these list of incidences,
     14                you're just assuming that they all occurred,
     15                correct?
     16         A.     As opposed to ‐‐
     17         Q.     As opposed to being made up?
     18         A.     My basis was that the individuals
     19                interviewing were forthcoming and truthful.
     20         Q.     That was your basis.      Were they under oath?
     21         A.     I don’t know if they ‐‐ in many
     22                investigations, there's a signatory line
     23                where they talk about it being perjury of

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      1                giving a false statement to a police officer,
      2                so I don’t know if that was included in that,
      3                but they were not under oath.
      4         Q.     Okay.    And as an example, the first one,
      5                "Remarked Lyman's being diagnosed with an
      6                elbow fracture as "sissy‐itis."         That's based
      7                on a statement by Lyman Collins, correct?
      8         A.     Yes.
      9         Q.     And you're assuming, for the basis of your
     10                opinion, that his statement was truthful and
     11                accurate, correct?
     12         A.     Correct.
     13         Q.     And you say, "Identified injured players as
     14                the "cripple crew," and directed them to
     15                collect trash and move tires and cones during
     16                practice."   Again, this is based on a
     17                statement by a student, correct?
     18         A.     Yes, it is from the statements in the
     19                depositions.
     20         Q.     Right.   And you're, again, assuming that that
     21                statement was truthful and accurate, correct?
     22         A.     Yes.
     23         Q.     Okay.    And in fact, all of these are based on

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      1                saying?
      2         A.     Could you rephrase your question?
      3         Q.     Sure.   You, apparently, are giving full
      4                credibility to the students who said this
      5                kind of activity occurred, and you are
      6                discounting the students who said it didn't
      7                occur because you believe they didn't
      8                recognize that they were being hazed?
      9         A.     I wouldn't use the term, you know, full
     10                credibility and totally, you know,
     11                disregarding the others.      I think it's you
     12                look at group statements where there's some
     13                continuity and some consistency to try to get
     14                an understanding of what is occurring.          It's
     15                a way of examining the culture in which the
     16                students are experiencing their team
     17                participation, and it gives you the
     18                opportunity to say, well, then there are some
     19                who are saying this happened or this
     20                occurred, and trying to get a better
     21                understanding of what that is about.
     22         Q.     And so where some students said this was
     23                horseplay and just kidding around that got

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      1                out of hand, you interpreted that as being
      2                they were hazed, but they thought it was fun?
      3         A.     Yes, I think that that's fair to think that
      4                there was not only students, but the coaches
      5                and I believe the board members that were
      6                conceptualizing the behavior as horseplay.           I
      7                think that was a common phrase that many used
      8                where, in fact, I did see that as hazing.
      9         Q.     Okay.   You saw that as hazing, you've been, I
     10                guess, studying hazing for 20 years.         But
     11                haven't you found in your studies that most
     12                people don't recognize hazing as hazing?
     13         A.     That's what the research has shown and which
     14                is why the necessity for education and being
     15                proactive is so critical.
     16         Q.     Okay.   And so if people see young men horsing
     17                around or engaged in what they believe as
     18                horseplay, you, as the expert and the
     19                specialist, see that as a possible hazing,
     20                correct?
     21         A.     As possible, yes.    It depends on the context.
     22         Q.     Certainly.   All right.    Now, going to the
     23                next page, you go on to say that, "Even

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      1                though these incidents were reported by Ms.
      2                Kim, Ms. Collins, and Lyman Collins;" they
      3                were not reported until after the video of
      4                Rodney Kim, Jr. surfaced, correct?
      5         A.     Yes.
      6         Q.     All right.   So all of the reporting that was
      7                done, including that by Ms. Collins and Lyman
      8                Collins, was done after, after the incident
      9                involving Rodney Kim, Jr. became public
     10                knowledge, correct?
     11         A.     Correct.
     12         Q.     And you say that Resource Officer Terry did
     13                not include any questioning about their
     14                specific complaints.      You do realize that
     15                Mr. Terry tried to talk to Ms. Kim, but she
     16                wouldn't talk with him, you do realize that,
     17                right?
     18         A.     I do.
     19         Q.     Okay.    And then you go through a list of
     20                students, reports, not all of them but some
     21                of them, and you say also Mr. Terry
     22                interviewed the assistant principal. Do you
     23                know what Mr. Terry's purpose or directive

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      1                was with regards to his investigation?
      2         A.     My understanding is that he was looking at
      3                specifically at just the one incident.
      4         Q.     Okay.   Fair enough.      All right.     Now, at the
      5                very bottom you used this term "alarmingly."
      6                Were you alarmed by what Mr. Terry did?
      7         A.     That's the word I used, yes.
      8         Q.     Okay.   I just wanted to make sure.          That he
      9                expressed no concern about retaliation
     10                towards the victims and offered no resources.
     11                Retaliation would seem to indicate that
     12                people would know what these students said,
     13                correct?
     14         A.     Yes.
     15         Q.     Do you believe that Mr. Terry made public his
     16                findings?
     17         A.     I don’t know.     It was concerning because on
     18                most schools, when there's an investigation
     19                that is going on, the rumor mill spreads like
     20                wild fire and people make assumptions.            And
     21                just as a precautionary measure, when you are
     22                investigating any incident, you always want
     23                to be aware that how could this impact the

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      1                individuals, the victims.
      2         Q.     So you're speculating, you don't know what
      3                happened with this report, correct?
      4         A.     No, I don’t.
      5         Q.     All right.   Or whether or not kids knew what
      6                was going on or whether they spoke or other,
      7                correct?
      8         A.     Correct.
      9         Q.     And do you realize that some of these reports
     10                and interviews were done when officers were
     11                present, police officers, law enforcement
     12                officers?
     13         A.     Oh, yes.
     14         Q.     Okay.   And do you know whether or not police
     15                officers, when they're investigating criminal
     16                activity and they're interviewing witnesses,
     17                whether or not they express concern about
     18                retaliation?
     19         A.     I know that part of my responsibilities is
     20                getting students to oversee our public safety
     21                office and as part of their investigatory
     22                process, that is included.       And it's also
     23                included in the report that they ‐‐ how they

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      1                express concern about retaliation, making
      2                sure that the individuals are safe since they
      3                came forward.
      4         Q.     How do they express concern about
      5                retaliation?
      6         A.     One of the things that we look at is their
      7                environment, do they feel safe where they're
      8                living or in classes or their campus work
      9                study positions, that we try to make sure
     10                that those individuals who are brave enough
     11                to come forward, are protected.          And that we
     12                give options then in saying, you know, do you
     13                need to relocate where you're living, do you
     14                need an escort, or is it simply just having a
     15                phone number that you can call immediately.
     16         Q.     So you think Officer Terry should have told
     17                these students he was interviewing that he
     18                would help them relocate if they needed to be
     19                relocated; is that what you're saying?
     20         A.     I think he should ‐‐ what I'm saying is in
     21                his report he should have listed if he was
     22                expressing concern and gave options for that
     23                concern.

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      1         Q.     So you have criticisms with Officer Terry's
      2                reporting, correct?
      3         A.     Well, the content in the report.         And, you
      4                know, I appreciate that he was asking those
      5                individuals and received multiple statements
      6                of their perceptions, but as I said, I wish
      7                he would have done more.
      8         Q.     Okay.   So you have criticism of how Mr. Terry
      9                conducted his interviews and/or his
     10                reporting, correct?
     11         A.     Yes.
     12         Q.     All right.   Let’s get to your opinions.          And
     13                you didn't number them, so I'm just going to
     14                have to kind of go down the list here.           The
     15                first one, it's your opinion, "That if
     16                Coach Riley and assistant coaches, Eubanks,
     17                Miller and Pope had implemented proper
     18                industry standard locker room supervision and
     19                the common hazing prevention practices found
     20                in many high schools and teams, the hazing
     21                and subsequent injuries would have been
     22                averted."    Correct?
     23         A.     Correct.

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      1         Q.     All right.    What are the industry standard
      2                locker room supervision and common hazing
      3                prevention practices?
      4         A.     Sure.   If you go to the National Federation
      5                of High Schools, they provide the industry
      6                standards for supervision and for chaperoning
      7                and for supervision.
      8         Q.     So you believe that the recommendations of
      9                the National High School Federation
     10                Association provide industry standards; is
     11                that what you're saying?
     12         A.     Yes.
     13         Q.     Okay.   And you say that these standards are
     14                found in many high schools and teams.           Do you
     15                know how many high schools and teams?
     16         A.     Not quantitative, no.
     17         Q.     And you're saying that what happened to
     18                Mr. Kim would not have happened if these
     19                standards had been in place; is that correct?
     20         A.     I think that the likelihood of them having
     21                taken place would have been greatly
     22                diminished.
     23         Q.     Okay.   Are there policies involving use of

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      1                first opinion, that you're not really saying
      2                that Rodney Kim, Jr.'s hazing or alleged
      3                hazing or assault would have been prevented,
      4                but that the likelihood of that occurring
      5                would have been diminished?
      6         A.     Well, I think it would have been averted and
      7                because of the expectation of supervision in
      8                locker rooms, the way it's stated, for
      9                example, on the National Federation's website
     10                of having that adults supervising.         Because,
     11                hopefully, typically, students are not acting
     12                out in that way in the vision of an adult.
     13         Q.     So if there's supervision, is it possible
     14                that the hazing activity would then be moved
     15                off campus?
     16         A.     There possibly could be.      I'm not saying it's
     17                impossible, but as I said previously, the
     18                overall majority of hazing that occurs on
     19                high school is either on campus, in the buses
     20                or at away matches.
     21         Q.     Okay.   So where there's less supervision; is
     22                that a fair statement?
     23         A.     Yes.

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      1         Q.     But still in places where there is
      2                supervision, because you said on the bus
      3                there's typically a bus driver; away games
      4                they're typically coaches and at the school
      5                campus there's typically coaches?
      6         A.     Yes, unless there is a lack of supervision
      7                with that ‐‐
      8         Q.     But you don't know whether there is a lack of
      9                supervision or not?
     10         A.     Well, in this case there is, and that's why
     11                I'm saying that if they had industry
     12                standards and supervision as they attempted
     13                to put in place after this incident, it would
     14                have been averted.
     15         Q.     Now, what are the industry standards that the
     16                National Federation of High Schools have?
     17         A.     If you go to their website, it's listed
     18                there.   You know, it has to do with the ratio
     19                of supervisees to students, to locations,
     20                looking at hotspots.
     21         Q.     But you don't know what they are?
     22         A.     Well, I know that they're there.
     23         Q.     You just know that there's something on the

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      1                National Federation of High School Athletics
      2                website that relates to hazing?
      3         A.     Yes, well, and to supervision.
      4         Q.     Relates to supervision of student athletes,
      5                correct?
      6         A.     Correct.
      7         Q.     And you use that as a basis of your opinion,
      8                correct?
      9         A.     And just having worked in this field for, you
     10                know, let's just say 20 years, understanding
     11                the necessity of appropriate supervision.
     12         Q.     Okay.   So, but you don't have a copy of this?
     13         A.     I could look through my files and find it for
     14                you.
     15         Q.     The file, the Kim files?
     16         A.     No, no.    In just ‐‐ I keep information about
     17                hazing and different aspects of hazing and
     18                I'm sure I, at one point, downloaded what the
     19                recommendations were.
     20         Q.     Okay.   Can you send those to me whenever you
     21                get a chance?
     22         A.     Sure, happy to, let me just make a note.
     23         Q.     Okay.   That would be the industry standard of

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      1                care as far as supervision as set forth by
      2                the National Federation of High Schools?
      3         A.     Yes, that I believe that they had, if I
      4                recall correctly, is that they have had an
      5                expert in the field write an article with
      6                those recommendations and expectations.
      7         Q.     So is this an industry standard or is this a
      8                person's recommendations?
      9         A.     Well, because it's on the National
     10                Federation's website, which would be the
     11                industry, it would be the industry standard,
     12                you know, that they're endorsing it by having
     13                it on their website.
     14         Q.     So it's your opinion that any article that
     15                the National Federation of High Schools has
     16                on their website, de facto becomes their
     17                industry standard?
     18         A.     I think that that's ‐‐ in general, I think
     19                that's probably a true statement.
     20         Q.     You don't think they have any policies or
     21                procedures or standards that they have passed
     22                by their board that is their official policy?
     23         A.     I'm not ‐‐ I can't say for sure because,

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      1                typically, the associations do not make
      2                policies as opposed to guidelines and
      3                recommendations and standards for that.           That
      4                if there's policies similar to the NCAA,
      5                except in extreme circumstances, they leave
      6                it up to the individual schools or the
      7                associations for them.
      8         Q.     Okay.   So this article may have been a
      9                guideline, a recommendation, or a standard;
     10                is that correct?
     11         A.     I would phrase it as an industry standard.
     12         Q.     Why wouldn't you phrase it as a
     13                recommendation?
     14         A.     Well, I think it can be both.
     15         Q.     Why wouldn't you phrase it as a guideline?
     16         A.     It could be that as well except that I think
     17                standard has a higher level of expectation,
     18                you know, here's the baseline of expectation.
     19                Guidelines oftentimes, at least in my
     20                definition, are something that you may want
     21                to be aware of, but not with the same level
     22                of expectation.
     23         Q.     And you're going to send this article ‐‐ do

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      1                you know who wrote this article that you're
      2                referencing?
      3         A.     No, not off the top of my head.
      4         Q.     Okay.   But you're going to send me a copy of
      5                that, correct?
      6         A.     I certainly will.
      7         Q.     All right.   Thank you.     And I'm going to wrap
      8                up this particular opinion.        It's your
      9                opinion that had there been an adult actually
     10                in the locker area, that this incident
     11                wouldn't have occurred and I guess because
     12                the adult would have been there, but that had
     13                there been adults in the locker room, that
     14                these same students would not have done some
     15                hazing activity off campus, correct?
     16         A.     Well, just to qualify it, it's not only
     17                having adult there, but as the sentence also
     18                says, common hazing prevention practices,
     19                which is more than just having, you know, a
     20                physical body in that space for that.           There
     21                has to be, you know, training and different
     22                supports of the individual is competent as a
     23                supervisor in that way.

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      1         Q.     And then again, we get into the supervising
      2                adults.   I guess your position that there
      3                should have been an adult inside the locker
      4                room at the time, correct?
      5         A.     At minimum, yes.
      6         Q.     At minimum.   And that if there had been
      7                adults there, then the older members would
      8                not have attempted to do their hazing off
      9                campus or in some location that was out of
     10                sight of adult supervision, correct?
     11         A.     Well, again, the likelihood of that would
     12                have been diminished.
     13         Q.     Diminished.
     14         A.     I can't say with a hundred percent certainty
     15                it would have not occurred, but the
     16                likelihood of it occurring would have been
     17                diminished.
     18         Q.     Okay.   The next one, the third one, it's your
     19                "Professional opinion that any assertion that
     20                because players could have reported the
     21                hazing at any point and that it was therefore
     22                viewed as consensual or condoned, is false
     23                and contrary to the accepted definitions of

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      1                hazing."
      2                        Isn’t one of the definitions of hazing
      3                ‐‐ or requirement to hazing that it be
      4                consensual?     I mean, it is consensual, right?
      5         A.     No.     One cannot consent to an illegal act for
      6                that.
      7         Q.     We're not talking about an illegal act, we're
      8                talking about hazing.        And I think you said
      9                that almost 70 percent of hazing activities
     10                are not illegal?
     11         A.     That the activity that was involved in their
     12                hazing is also some sort of illegal act like
     13                the consumption of alcohol, so ‐‐
     14         Q.     Yes.     But you said that only 29 percent or
     15                the survey said 29 percent of hazing activity
     16                is illegal.     To me, that means that, you
     17                know, 71 percent isn’t illegal, correct?
     18         A.     No.     You're misinterpreting it.
     19         Q.     Oh, okay.
     20         A.     It's that the activity that they were
     21                involved in could ‐‐ like stealing a sign or
     22                beating someone up, is an illegal act while
     23                they're hazing, which is also illegal.             My

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      1                point is ‐‐
      2         Q.     The hazing is illegal.
      3         A.     Hazing is illegal.
      4         Q.     Gotcha.   Okay.
      5         A.     And my point is with consent, even though
      6                using your alcohol scenario, even though the
      7                19‐year old wants to drink, likes to drink,
      8                enjoys drinking and feels it's fun to drink
      9                doesn't mean that it's okay just because they
     10                view it as being fun, enjoyable.
     11         Q.     No, I didn't say it was okay.         I said it was
     12                consensual.   You understand what consensual
     13                means, right?
     14         A.     Well, if you could explain the
     15                differentiation between consensual and okay.
     16         Q.     Consensual is something you agree to
     17                participate in.
     18         A.     And the difference with it being okay?
     19         Q.     No. You said that because the players could
     20                have reported the hazing at any point and it
     21                was therefore viewed as consensual or
     22                condoned is false and contrary to the
     23                acceptant definition of hazing.

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      1         A.     Right.
      2         Q.     So I mean, it is consensual, we agree, right,
      3                it was consensual?
      4         A.     Not always.
      5         Q.     Well, in the case of Rodney Kim, we agree
      6                that it was consensual, correct?
      7         A.     I'm not making that assertion.
      8         Q.     Well, Rodney Kim said he knew it was coming.
      9                His parents said they knew it was coming and,
     10                yet, they still went forward without
     11                reporting it; so is that not consensual?
     12         A.     No, I don’t believe that.        There are many
     13                circumstances where an individual knows that
     14                this is going to occur in the future and as
     15                he described.     His fear is trepidation, he's
     16                trying not to enter that locker room, waiting
     17                for them to leave before he'd go in and get
     18                the football that he could use for practice
     19                only to be grabbed from behind and taken into
     20                the locker room and them pummeled.
     21         Q.     Okay.
     22         A.     I don't believe that that was consensual at
     23                all.

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      1         Q.     Okay.   So even though he knew it was coming,
      2                even though his parents knew it was coming,
      3                it wasn't consensual.     And even though he was
      4                there and knowing it was going to happen, it
      5                wasn't consensual because at the last moment
      6                he decided not to go in the locker room?
      7         A.     Well, not only that but the ‐‐ I believe in
      8                order to give consent, you'd have to fully
      9                understand what it is you're consenting to.
     10                So he doesn't know that the duration, the
     11                intensity, the consequence of that act.           I
     12                don't think he knew he was going to get a
     13                broken arm out of it.     I don't think he
     14                consented to get a broken arm.        I don’t
     15                believe that he consented to have the
     16                physical effects and the psychological
     17                effects as a result of that.       That's not what
     18                he knew.   He wasn't knowingly acquiescent to
     19                that.
     20         Q.     No, I don't think he knowingly agreed to get
     21                his arm broken either.     Okay.    Going to the
     22                next one, what I've numbered 4, the fourth
     23                paragraph down, sort of the last sentence;

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      1         A.     Not specifically.
      2         Q.     All right.     Do you know whether Commissioner
      3                Harwell, ,or do you have any evidence that
      4                Commissioner Harwell knew that bullying,
      5                hazing or harassing was going to occur in the
      6                locker room?
      7         A.     Not specifically.
      8         Q.     All right.     And do you know or have any
      9                evidence that Commissioner Stringfellow knew
     10                that bullying, hazing or harassing behavior
     11                was going to happen in the locker room?
     12         A.     Not specifically.
     13         Q.     Okay.     Now, with regards to should have
     14                generally known that the locker room was a
     15                location of potential bullying, hazing or
     16                harassing, let’s, again, break that down.
     17                        Do you have any evidence that
     18                Commissioner Battles should have known that
     19                bullying could occur in the locker room?
     20         A.     That's my point is that they should have
     21                known, that all the commissioners as well as
     22                the superintendent and principal should have
     23                known and they seemingly did not know.

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      1         Q.     And I believe you said that the parents
      2                didn't know, correct?     In some other point
      3                you said the parents didn't know?
      4         A.     I don’t recall saying that.
      5         Q.     Okay.   Well, we'll get to that.       On what
      6                basis should they have known?
      7         A.     Well, as educators and individuals who are
      8                board members to be aware about the health
      9                and safety and risk to the students that
     10                they're in charge to keep safe.
     11         Q.     Okay.   So, in general terms, you think that
     12                they should know that students need to be
     13                safe?
     14         A.     Yes.
     15         Q.     Okay.   Fair enough.    And in general terms,
     16                that students may be bullied, correct?
     17         A.     Yes.
     18         Q.     Whether in the locker room, in the hall room,
     19                in the kitchen, in the cafeteria, out in the
     20                parking lot, students can be bullied,
     21                correct?
     22         A.     Correct.
     23         Q.     And they should know that, correct?

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      1         A.     Yes.
      2         Q.     All right.   Now, the same thing with
      3                harassing, they should know that, correct?
      4         A.     Correct.
      5         Q.     Now, hazing, hazing is a little different.
      6                Hazing, specifically, I believe I've read in
      7                all of these reports is that most people
      8                don't even realize that hazing is occurring,
      9                correct?
     10         A.     Correct.
     11         Q.     The people who are actually being hazed,
     12                according to your definition, don't realize
     13                they're being hazed, correct?
     14         A.     You're correct, but that's not the term and
     15                the definition that they would use.
     16         Q.     Okay.   And most of the students and/or their
     17                parents don't report incidents of hazing,
     18                correct?
     19         A.     Correct, which is why these individuals had a
     20                responsibility to provide that information.
     21         Q.     Okay.   How would they know if the people who
     22                were actually involved in it didn't know?
     23         A.     Because they're educators, and their primary

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      1                responsibility is to look at the issues that
      2                are affecting the children in their care and
      3                providing response for them.
      4         Q.     Response to a problem that most people don't
      5                even know exist; is that what you're saying?
      6         A.     Yes.    There are many problems that students
      7                face in school that may not be visible, that
      8                may not be noticed, that doesn't make any of
      9                the responsibility of this school to try to
     10                prevent those from occurring ‐‐
     11         Q.     All right.   Did you ‐‐ I'm sorry.        Go ahead.
     12         A.     Whether it be substance abuse, whether it be
     13                sexual assault or whether it be hazing,
     14                whether it be hunger.      There's a lot of
     15                social issues that kids are struggling with,
     16                and school districts is the primary source of
     17                response for many of those students.
     18         Q.     And it's your position that they should have
     19                known, correct?
     20         A.     Correct.
     21         Q.     Okay.   Number 5 says that it's your
     22                professional opinion that, "It is unrealistic
     23                for school to require victims of

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      1                bullying/hazing/harassment to officially
      2                report incidents using a form prior to any
      3                investigation started by a school
      4                administrator."
      5                        On what basis do you believe that they
      6                have to report it in writing before an
      7                investigation is initiated?
      8         A.     From the materials that I read, it seemed to
      9                suggest that the resource officer stated that
     10                he needed to have a report of any incident in
     11                order to investigate.        My understanding from
     12                the materials from the assistant principal
     13                and principal seem to suggest that someone
     14                needed to come in and submit that form in
     15                order for them to take action.
     16         Q.     Okay.     Can you point me to that,
     17                specifically?
     18         A.     Not in front of me, that's my recollection.
     19         Q.     That's your recollection; so you're making an
     20                opinion based on recollection?
     21         A.     Well, I'm giving my statement now based upon
     22                recollection.
     23         Q.     Okay.

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      1         A.     I didn't ‐‐ I didn't notate the specific part
      2                of whose deposition stated that.
      3         Q.     So it's your recollection that a written
      4                report is required before any investigation
      5                is done, correct?
      6         A.     Well, that's my recollection.
      7         Q.     Okay.     So if an administrator witnesses an
      8                incident occurring and verbally reports that,
      9                nothing's going to be done; is that your
     10                recollection?
     11         A.     I can't say with absolute certainty, but it
     12                seemed as though what was described,
     13                especially by the assistant coaches, is that
     14                they were given discretion when they noticed
     15                it turned negative, when they saw incidents,
     16                and there wasn't the expectation that they
     17                come forward and report that.
     18                        The other, you know, challenge is that
     19                you're talking about if an administrator, a
     20                teacher, an employee, that has other
     21                responsibilities to report different types of
     22                abuse that they witnessed, may be mandated to
     23                come forward and verbally give that.

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      1                        But I was referencing if a student is
      2                experiencing that, that there's this form
      3                that they fill out and seemingly no other
      4                vehicle that they could report an incident
      5                that either they experienced or witnessed
      6                that would prompt an investigation.
      7         Q.     So it's your recollection that if a student
      8                came to a teacher and said they were being
      9                harassed or bullied, that nothing could be
     10                done about it until they filled out a written
     11                formal report?
     12         A.     That's my understanding.
     13         Q.     Okay.     And is it your understanding that all
     14                harassment, bullying incidences require an
     15                investigation by a school resource officer?
     16         A.     No, no.     I think that the protocol that they
     17                had was that the assistant principals were
     18                assigned to investigate except for ‐‐ I think
     19                it was Dr. Cleveland that didn't have that
     20                responsibility, but the other assistant
     21                principals would do the initial
     22                investigation.      And if it met a certain
     23                criteria, then it would go to the resource

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      1                officer.
      2         Q.     Okay.    And that first initial investigation
      3                had to be formal and in writing before the
      4                administrator could conduct an investigation;
      5                is that your recollection?
      6         A.     As I said, that's my recollection and
      7                understanding.
      8         Q.     And so it's your recollection that if a
      9                parent called in and said my student is being
     10                bullied, that they would be required to fill
     11                out a formal written complaint before any
     12                action could be taken?
     13         A.     Based upon the information provided in the
     14                depositions, it seemed as though when parents
     15                came forward and disclosed that, that it
     16                wasn't default of an investigation.
     17         Q.     You mean the parents who came forward after
     18                the lawsuit was filed?
     19         A.     No.     I think that in ‐‐ was it Lyman Collins,
     20                that his mom complained to Dr. Cleveland
     21                about it.    I think that’s correct.
     22         Q.     Okay.
     23         A.     When he was interacting ‐‐ about how he was

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      1                interacting with Coach Riley.
      2         Q.     And that's not regarding hazing incidents
      3                involving ‐‐
      4         A.     No.     That was, as I said, the coach's
      5                incident of bullying and the toxic culture of
      6                harassment.
      7         Q.     Okay.    Fair enough.     Okay.   Your next one,
      8                number 6 says that, in your opinion,
      9                "Davidson High School administrators and
     10                resource officers responded to the reports
     11                regarding the assaults of Kim, Betts,
     12                Chatman, they failed to address the
     13                underlying dysfunctional culture of
     14                bullying/hazing and harassment."          On what do
     15                you base that on?
     16         A.     I couldn't see any documentation that there
     17                was any attempt by the school to rectify the
     18                culture, the environment.         You know, here
     19                were these reports of incidents, videotapes.
     20                And in the interview or deposition ‐‐ excuse
     21                me ‐‐ of the new superintendent, it didn't
     22                sound like there was any action that was
     23                taken to respond to correct that.

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      1         Q.     Is that what you said, it didn't sound like
      2                there was any action taken?
      3         A.     Well, based upon her deposition ‐‐
      4         Q.     Well, stop.    You said the current
      5                superintendent, Mr. Threadgill?
      6         A.     The one who replaced Dr. Peek.
      7         Q.     Mrs. Peek, yes.
      8         A.     I'm sorry, Mrs. Peek.
      9         Q.     So it didn't sound like it, anything.           But,
     10                again, going back, you have no evidence or
     11                any information that this so‐called toxic
     12                culture continued after the Rodney Kim, Jr.
     13                incident; is that correct?
     14         A.     She did not disclose that in her deposition,
     15                no.
     16         Q.     Well, again, and I know you like to play
     17                around with your words, but you have no
     18                information, no evidence that any of this
     19                so‐called toxic culture continued after the
     20                incident involving Rodney Kim, Jr., correct?
     21         A.     I don’t have any of that information as
     22                provided.
     23         Q.     All right.    So you have no information or

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      1                evidence that this alleged dysfunctional
      2                culture on the football team continued after
      3                the incident involving Rodney Kim, Jr.,
      4                correct?
      5         A.     I can find no evidence that anything was done
      6                other than the rest of the individuals that
      7                were charged and the retirement of Coach
      8                Riley.
      9         Q.     Okay.    Well, again, listen to my question and
     10                this will go a lot quicker.         You have no
     11                evidence or information that this alleged
     12                culture of bullying continued after the
     13                incident involving Rodney Kim, Jr.; is that
     14                correct?
     15         A.     Correct, yes.
     16         Q.     All right.   Number 7 says that, "Upon review
     17                of Davidson High School's own publication,
     18                it's my opinion they failed to recognize the
     19                topic of hazing as a problem," correct?
     20         A.     Correct.
     21         Q.     And is that because they had no specific
     22                section involving hazing?
     23         A.     There was no policy.       There was no education.

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      1                There were descriptions.        Even the word
      2                hazing wasn't included in their code of
      3                conduct and student handbook.
      4         Q.     Okay.   And then you go on to say, "As
      5                required by Alabama state statute;" is that
      6                correct?
      7         A.     Correct.
      8         Q.     All right.   And I don’t want to go over it
      9                because I think we went over the statute, but
     10                just so that it's clear, there's no direct
     11                provision that says that a school system or a
     12                school must develop and adopt a policy
     13                against hazing, correct?
     14         A.     Correct.
     15         Q.     Okay.   Now, you say that because there was a
     16                state statute that the board should have
     17                known of the prevalence and severity of
     18                hazing amongst high school athletic teams; is
     19                that correct?
     20         A.     That’s correct.
     21         Q.     All right.   And that's just based on your own
     22                opinion, right?
     23         A.     It's an assumption that ‐‐ that may not be

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      1                accurate, but my assumption was that there
      2                was someone within the school district that
      3                was in charge of compliance with state
      4                regulations, that would have had the
      5                responsibility to identify those statutes
      6                that are applicable to schools and would have
      7                ensured that they were in compliance.
      8         Q.     And I think we already agreed that as far as
      9                the State Board of Education goes, there is
     10                no State Board of Education recommended
     11                policy on hazing?
     12         A.     Correct.
     13         Q.     On the next page, second to the last
     14                paragraph you state that, in your opinion,
     15                "Those with ultimate responsibility for
     16                developing and implementing policies within
     17                the Mobile County School System were
     18                negligent."   Is that what you said?
     19         A.     Yes.
     20         Q.     Negligent in ‐‐ do you know what negligent
     21                means?
     22         A.     I don’t want to give a legal definition, but
     23                it's just a layman's‐type definition.

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      1         Q.     And what's your layman's definition?
      2         A.     That there were expectations of behavior,
      3                action, that they didn't fulfill.
      4         Q.     Expectations from who?
      5         A.     Well, in this case, it was that the safety of
      6                the students was a primary charge, that the
      7                superintendent being the CEO of the school
      8                district had ‐‐ and the board in conjunction,
      9                had to ensure that measures in place to keep
     10                students safe.
     11                        And based upon all these incidents in
     12                the videos, this was not a safe environment,
     13                And I think it was unsafe because of the lack
     14                of action on their part.
     15         Q.     And you're saying that the environment at
     16                Davidson High School's football team was
     17                unsafe?
     18         A.     I think that the football team contributed to
     19                the unsafe environment, yes.
     20         Q.     Okay.     And basically, you're just talking
     21                about Davidson High School, correct?
     22         A.     Correct.
     23         Q.     And then you state, in conclusion that, "The

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      1         Q.     Because it seems like you got 43 percent and
      2                then 23 percent and then 22 percent, so
      3                that's why I'm wondering.       So I'm not a great
      4                mathematician, but that seems to add up to a
      5                hundred percent?
      6         A.     Well, 43, 23, and 22 does not.
      7         Q.     Yes.    So I'm not sure.    Okay.    So you don't
      8                recall whether somebody ‐‐ you could put
      9                people in various groups or whatever.           All
     10                right.    If you'll drop down to Dangerous
     11                Hazing.    And we've talked about illegal
     12                activities and people in doing things.           And
     13                you include harassing others, vandalizing
     14                property, that's an illegal activity,
     15                correct?
     16         A.     Correct.
     17         Q.     Steal, cheat or commit a crime, that's
     18                obviously an illegal activity, correct?
     19         A.     Yes.
     20         Q.     Beat up others or pick a fight with someone,
     21                that's an illegal activity, correct?
     22         A.     Yes.
     23         Q.     And then some of the other stuff.         But

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      1                anyway, we get down to being physically
      2                abused or beaten, and that's what happened to
      3                Rodney Kim, Jr., correct?
      4         A.     Yes.
      5         Q.     And apparently what Mr. Collins alleges
      6                happened to him, correct?
      7         A.     Yes.
      8         Q.     Mr. Betts doesn't allege that, does he, that
      9                he was physically abused or beaten by other
     10                students?
     11         A.     No.     I think you're incorrect.       In the dog
     12                pile in the locker room, I think he
     13                acknowledges that he was beaten.          That's when
     14                Coach Riley walked in and said, "You dumb
     15                asses, break it up."
     16         Q.     And I had it confused.       Mr. Collins is saying
     17                that Coach Riley was abusive, but he's not
     18                saying that he was involved in the dog pile;
     19                is that correct?
     20         A.     Not in the dog pile.       My recollection with
     21                Mr. Collins was that he was placed in a trash
     22                can receptacle.
     23         Q.     And Mr. Chatman, I think we've already agreed

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      1                was the subject of possible bullying but not
      2                hazing, correct?
      3         A.     It's challenging because the information,
      4                there was the incident in the locker room
      5                that he was, I think, punched there, and I
      6                don’t know the sequence of events by him
      7                going into the locker room, was then that
      8                initiation of anyone that went to the weight
      9                room or locker room.     But at least for now
     10                with the information I have, I'm considering
     11                it more of a bullying assault.
     12         Q.     Correct.   Okay.   So if we look at it in your
     13                survey of these high school students,
     14                physically abused or beaten by other folks is
     15                8 percent, correct?
     16         A.     Yes.
     17         Q.     So he falls into an 8 percent of hazing
     18                activity, correct?
     19         A.     Correct.
     20         Q.     And just so that I'm clear, is it your
     21                opinion that the school board should have had
     22                a policy against all forms of hazing whether
     23                it was silly or not?

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      1         A.     Yes.
      2         Q.     Okay.    So even if it wasn't an illegal
      3                activity or an activity that was necessarily
      4                a violation of the student code of conduct,
      5                it should have still been prevented, correct?
      6         A.     Well, I would hope they would have been
      7                included in the student code of conduct.
      8         Q.     Right.   Okay.     And that's what I'm saying,
      9                if it wasn't included in the current student
     10                code of conduct, it should have been as a
     11                separate offense?
     12         A.     Yes.    Similar to bullying where there's a
     13                wide range of behaviors that fall under that
     14                umbrella.
     15         Q.     So it's your opinion that in the student code
     16                of conduct there should have been a section
     17                that designated hazing as an offense and then
     18                I guess depending upon what type of hazing
     19                activity occurred, the severity of the
     20                offense, whether it was an A, B, C, D or E,
     21                correct?
     22         A.     Yes.
     23         Q.     So you could have a relatively minor offense

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      1                that was termed hazing and then a more
      2                serious offense that was also termed hazing,
      3                correct?
      4         A.     Yes.
      5         Q.     And it's your opinion that the Mobile County
      6                School Board should have included a hazing
      7                section in their student code of conduct?
      8         A.     Yes.     My understanding is that they give
      9                their approval for the code of conduct.
     10         Q.     Okay.
     11                        MR. CARBO:   And if you'll go to what's
     12                page 10 on this document, Jennifer.            Yes,
     13                okay.
     14         Q.     And this is I think where you said ‐‐ I was
     15                asking you what percentage of hazing is with
     16                sports teams, and you said 24 percent of the
     17                students hazed were to get into a sports
     18                team, correct?
     19         A.     Could you repeat that?
     20         Q.     Sure.     We talked when we first started
     21                talking about this, I was asking of the
     22                groups how many students were hazed in trying
     23                to get into a sports group or athletic team

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      1                many venues, but at that time when we're
      2                trying to figure that out, we learn as we go
      3                along.
      4         Q.     So dropping down to the percentage of
      5                students hazed to join a specific
      6                organization, you have extrapolated, I guess,
      7                from your numbers that 35 percent of athletic
      8                students or students who join athletic teams
      9                are hazed; is that correct?
     10         A.     Yes.
     11         Q.     And that's based on the fact that 24 percent
     12                of the students you surveyed said that they
     13                engaged in hazing activity, or I guess to be
     14                more accurate, said they engaged in activity
     15                which you've defined as hazing.           And so
     16                that's how you determine that 35 percent of
     17                members have been hazed; is that correct?
     18         A.     Yes.
     19                        MR. CARBO:   If you can go to page 17,
     20                Jennifer.
     21         Q.     "How Do We Stop Hazing."         And your first
     22                sentence is, "Most students believe that
     23                adults needed to intervene to stop it.

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      1                Students rated strong, disciplinary measures
      2                for known hazing incidents and police
      3                investigation and prosecution of hazing cases
      4                as the best prevention strategies;" is that
      5                correct?
      6         A.     That these were the students responses to how
      7                they thought the best practices.
      8         Q.     Right.   And do you agree with them?
      9         A.     I think that the challenge is trying to go
     10                from an individual's opinion to having a
     11                research base to what is actually effective
     12                for that.    But I actually agree that having,
     13                you know, a policy with known disciplinary
     14                consequences is really important.
     15         Q.     All right.   So you think it's really
     16                important to have strong disciplinary
     17                measures including and up to police
     18                investigations and prosecution of hazing
     19                cases, correct?
     20         A.     Yes.
     21         Q.     All right.   And you would agree that there
     22                was strong discipline issued to the
     23                perpetrators of the assault on Rodney Kim,

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      1                Jr., correct?
      2         A.     I specify ‐‐
      3         Q.     I mean, they were suspended and/or expelled,
      4                so that's about as strong as you can get for
      5                a school, right?
      6         A.     The only caveat would be if they were, in
      7                fact, charged with hazing; that consequence
      8                would have been more in favor of.
      9         Q.     Okay.   But you would agree that they suffered
     10                about as hard a discipline or as strong a
     11                discipline action as a school administrator,
     12                correct?
     13         A.     Correct.
     14         Q.     And that a police investigation was
     15                initiated, correct?
     16         A.     Yes.
     17         Q.     And that there were prosecutions, correct?
     18         A.     Yes, for some.
     19         Q.     For some of the perpetrators, correct?
     20         A.     Yes.
     21         Q.     And you do understand that as far as what the
     22                perpetrators are charged with, that's not up
     23                to the school, that's up to the District

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      1                Attorney, correct?       I mean, do you know that?
      2         A.     For the criminal side, yes.          My understanding
      3                their suspension expulsion is up to the
      4                school district that fits the code of
      5                conduct.
      6         Q.     Certainly.
      7                        MR. CARBO:   Can you pull up the next
      8                exhibit, Jennifer?       I think it's 63.
      9                          (DEFENDANT'S EXHIBIT 63 MARKED
     10              FOR IDENTIFICATION)
     11         Q.     Are you familiar with this particular study
     12                and report in the Journal of Adolescent
     13                Health by Dr. Gershel, Katz‐Sidlow, Small,
     14                and Zandieh?
     15         A.     It looks familiar, but I can't recall the
     16                consequence or the conclusions that they came
     17                up with.
     18         Q.     Okay.     You say it looked familiar, correct?
     19         A.     What caught my eye is that it's all written
     20                by physicians which is noteworthy.
     21         Q.     Yes.     If you'll look at the abstract, which
     22                is the first paragraph, it states, "Little is
     23                known about the prevalence of hazing

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      1         Q.     That's the second paragraph, first line,
      2                School administrators ‐‐
      3         A.     Yes.    I think that, you know, including
      4                parents would be an appropriate conclusion of
      5                that as well, but certainly school
      6                administrators are critically important.
      7         Q.     And it states that, "When students become
      8                disruptive or exhibit inappropriate behaviors
      9                that interfere with teaching and learning,
     10                administrators must respond promptly,
     11                consistently, and in a manner that is
     12                proportional to the seriousness of the
     13                disruption."    Would you agree with that
     14                statement?
     15         A.     Yes.
     16         Q.     And you would agree that what happened to
     17                Rodney Kim, Jr. was inappropriate behavior,
     18                correct?
     19         A.     Certainly, yes.
     20         Q.     And that it was disruptive and interfered
     21                with teaching and learning, correct?
     22         A.     Yes.
     23         Q.     And would you also agree that once it became

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      1                known that administrators responded promptly,
      2                consistently and in a manner that was
      3                proportional to the seriousness of the
      4                disruption?
      5         A.     I don’t believe that the response was
      6                comprehensive to that.     I think that they did
      7                respond to the initial complaint or awareness
      8                of that.
      9         Q.     You believe that, though, it should have
     10                kicked off a more comprehensive
     11                investigation; is that your opinion?
     12         A.     Not only an investigation but also having a
     13                more robust and comprehensive response to the
     14                issues of hazing.
     15         Q.     But in regard to the actual incident
     16                involving Rodney Kim, Jr., they did an
     17                investigation, they interviewed a number of
     18                students and administrators, they suspended
     19                or expelled the main perpetrators, and they
     20                assisted in the prosecution of those
     21                perpetrators, correct?
     22         A.     Correct.   And as I said, they looked at it as
     23                an individual incident instead of systemic or

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      1                a cultural issue.
      2         Q.     And you would agree that as soon as, I guess,
      3                they found out about it, those steps were
      4                taken, correct?
      5         A.     Yes.
      6         Q.     The third paragraph says, "The following
      7                pages detail the school's response to
      8                inappropriate behaviors.         The sections are
      9                divided from minor disciplinary infractions
     10                to major disciplinary infractions."
     11                        And then it goes on to say that, "Before
     12                each level of infractions, a description of
     13                the school level response is provided.             And
     14                you don't disagree with, I guess, making
     15                different levels of offenses and prescribing
     16                what an administrator can and cannot do as
     17                far as each of those offenses, correct?
     18         A.     In principle, no.       The only question or
     19                concern I had was when coaches were seemingly
     20                saying that they had discretion in how they
     21                personally handled it instead of referring it
     22                to the assistant principals or the principal
     23                to determine what type of offense it was and

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      1                the consequences for it.
      2         Q.     Okay.     And then it goes to list some other
      3                factors.     But if you'll turn to the next
      4                page, which is page 15 of the student code of
      5                conduct, and these are Group B offenses.
      6                "Behaviors which upset the orderly classroom
      7                and all areas," you see that?
      8         A.     Yes.
      9         Q.     And it goes over what the responses,
     10                classroom interventions and responses may be;
     11                contacting parents, apologies, changing
     12                seats, things of that nature.          And then it
     13                goes through, you know, if there's a second
     14                and there's a subsequent offense, you see
     15                that?
     16         A.     Yes.
     17         Q.     And you would agree that it has to be
     18                observed or reported before disciplinary
     19                action can be taken, correct?
     20         A.     There has to be some knowledge, yes.
     21                        MR. CARBO:   If you'd go to the next
     22                page, Jennifer, page 16.
     23         Q.     All right.     If you'll see the second item is

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      1                "Acts of physical aggression," you see that?
      2         A.     I do.
      3         Q.     And you would agree that what occurred to
      4                Rodney Kim, Jr. was an act of physical
      5                aggression, correct?
      6         A.     Absolutely.
      7         Q.     And what occurred to Jeremiah Chatman was an
      8                act of physical aggression, correct?
      9         A.     Yes.
     10         Q.     And what allegedly occurred to Mr. Collins
     11                and Mr. Betts, even though we don't have
     12                video of it, based on their description of
     13                the actions or at least some of those
     14                actions, that would be acts of physical
     15                aggression, correct?
     16         A.     Yes.
     17         Q.     And if you go down to number 9, "Using
     18                aggressive obscene/profane language‐whether
     19                spoken, written, or by gestures.        Including
     20                verbal confrontation."     And again, the
     21                actions of the perpetrators who assaulted
     22                Rodney Kim, Jr., who assaulted Jeremiah
     23                Chatman and who allegedly assaulted Mr. Betts

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      1                and Mr. Collins, that would be a violation,
      2                correct?
      3         A.     Yes.
      4         Q.     And then there are, I guess, listed
      5                subsequent offenses, second offenses, first
      6                offenses.     Almost all of them require
      7                suspensions of a certain length, correct?
      8         A.     Yes.
      9                        MR. CARBO:   And if you'll turn to the
     10                next page, Jennifer.
     11         Q.     Number 12, "Bullying, cyber bullying,
     12                harassing behavior which threatens the health
     13                and welfare of any person (on campus/off
     14                campus.)"
     15                        And you would agree that what happened
     16                to Mr. Chatman could possibly qualify as
     17                bullying, what happened to Rodney Kim could
     18                possibly qualify as bullying, and the same
     19                thing with Mr. Collins and Mr. Betts; the
     20                actions against them would be a violation of
     21                the student code, correct?
     22         A.     Yes.
     23                        MR. CARBO:   If you'd go to the next

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      1                page, Jennifer, 18.
      2         Q.     You'll see this is Group C.          And this is more
      3                serious offenses and requiring, I guess,
      4                stronger actions.
      5                        MR. CARBO:   Jennifer, if you would go to
      6                page 19.
      7         Q.     And if you would look at 8 through 14, it
      8                includes Assault First, Second, and Third
      9                Degree, Menacing, Reckless endangerment,
     10                Harassment, including threats and Disorderly
     11                Conduct.
     12                        And you would agree, especially with
     13                regards to the assault on Rodney Kim, Jr.,
     14                that it was an assault, it certainly was
     15                menacing and it certainly recklessly
     16                endangered him, correct?
     17         A.     Correct.
     18         Q.     And so all of the actions taken against
     19                Rodney Kim, Jr. were violations of the
     20                student code of conduct, correct?
     21         A.     Yes.     I believe that those students were
     22                adjudicated through the student code of
     23                conduct.

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      1         Q.     Okay.     And that the actions that were taken
      2                against them were violations, correct?
      3         A.     Yes.
      4         Q.     All right.     Give me a second to check my
      5                notes.     I may have about covered everything I
      6                need to cover.      You want to take a
      7                five‐minute break?
      8         A.     That would be appreciated.         Thank you.
      9         Q.     Okay.
     10                        MS. ENGLISH:   We're off the record at
     11                3:15 p.m.
     12                                (BRIEF RECESS)
     13         Q.     I'm just about done.        Dr. Pollard, were you
     14                able to find the National Federation of High
     15                Schools standard?
     16         A.     Yes, I printed it out and set it down.
     17         Q.     Can you go ahead and e‐mail that to us?
     18         A.     I'll have to scan it and then e‐mail it to
     19                you.     Do you want me to do that now?
     20         Q.     Yes, if you don't mind and e‐mail it to
     21                jennifer@mobilebayreporting.com, and I'll
     22                give you a minute to do that.
     23                             (OFF THE RECORD)

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      1                contracting with me, they're not hiring me.
      2                I volunteer to do it as a way of giving back
      3                to the community.
      4         Q.     Well, just give me a judgment then as to how
      5                many of these consultations you've had with
      6                high schools?
      7         A.     The best guess I could give would say about a
      8                dozen different high schools.
      9         Q.     Just 12?
     10         A.     Yes.
     11         Q.     Okay.   And when was the last time you went to
     12                a high school and had a session as a
     13                consultant?
     14         A.     It may be 10 years.
     15         Q.     Ten years ago?     So we're now, what, 2021, so
     16                what that's, 2000 ‐‐
     17         A.     2010, 2011, 2012. But I think that I ‐‐ I
     18                believe, again, I think it's on my CV of when
     19                I went to Tennessee and that may have been
     20                around that same time.
     21         Q.     So it's going to be the CV which you produced
     22                in this case?
     23         A.     That I have, yes.

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      1                what information I provide to you is accurate
      2                and complete.
      3         Q.     Let me ask you about this 13th page of your
      4                report; have you got that report there in
      5                front of you, sir?
      6         A.     I do.
      7         Q.     Can I see a list of incidents where Coach
      8                Riley created a toxic environment?
      9         A.     Yes.
     10         Q.     Is that a complete list, sir?
     11         A.     This was complete as it related to the Kim
     12                complaint, but there was additional behavior
     13                on his part that I don't see in that list
     14                that was also concerning or problematic.
     15                With Kim, obviously, the stomach bumping
     16                event was concerning.        There was also, with
     17                Tre Betts, when he walked in and saw the dog
     18                pile calling them dumb asses and to break it
     19                up.
     20                        With Lyman Collins there was the times
     21                when he was interacting with that, you know,
     22                using the term "sissy‐itis" for that.             With
     23                Jeremiah, when he was in the locker room and

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      1                was being punched, I believe it was that he
      2                remarked that the coach came in and looked at
      3                them, smiled, and I think took a lick of his
      4                ice cream cone or something.
      5                        But what I tried to do in the list of
      6                the toxic environment wasn't only the
      7                specific behaviors the coach displayed
      8                towards individuals there, but just the
      9                general environment of conduct and behavior.
     10         Q.     So you have now given me a complete list of
     11                the incidents where Coach Riley created a
     12                toxic environment?
     13         A.     To the best of my understanding, yes, I have.
     14         Q.     Well, again, I just want to make sure because
     15                you've told me now that was a thorough
     16                report, and I just want to make sure that
     17                we've got everything that you're going to say
     18                with respect to the incidents where Coach
     19                Riley created a toxic environment?
     20         A.     I believe I have, yes.
     21         Q.     All right.     So you're representing to me I'm
     22                not going to be surprised at trial if you
     23                come up with something new?

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      1         A.     Unless it's provided in information after
      2                today's deposition.        This is what I plan on
      3                presenting at the trial.
      4         Q.     And we have an understanding that you're
      5                going to alert your lawyers if there's any
      6                additional information that you add or change
      7                with respect to this list of incidents where
      8                Coach Riley created a toxic environment?
      9         A.     Yes.
     10         Q.     All right, sir.      And I know you appreciate
     11                the fact that we just don't want to be
     12                surprised at the time of trial?
     13         A.     No.     No.   Why I'm hesitant is that my
     14                understanding was that Coach Riley hasn't
     15                been deposed yet.       So I don't know what he
     16                will say, and I don’t know if that will
     17                influence my opinion.        So that's the only
     18                hesitancy I have is that I don’t want to be
     19                surprised either when more information comes
     20                out that's presented to me that might change
     21                my opinion in a document that I've already
     22                produced.     But my intention is to testify to
     23                the facts that I've listed here and if they

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      1                changed, to absolutely let you know.
      2         Q.     Now, what about Coach Pope?
      3         A.     Well, with Coach Pope I didn't ‐‐ it was more
      4                being part of the coaching staff, and having
      5                children under his care and not providing the
      6                supervision and the oversight needed for them
      7                with that.
      8         Q.     I'm sorry.   I don’t understand.       What do you
      9                mean by supervision?
     10         A.     Well, I view teachers, coaches as having the
     11                responsibility ‐‐ I don’t want to misuse a
     12                legal term, but In Loco Parentis, that they
     13                have the students in their charge.         And so
     14                part of when you're in an athletic program,
     15                all the coaches have that responsibility to
     16                ensure that there's adequate supervision of
     17                the students that are participating in that
     18                sport during that time.
     19         Q.     Do you have any other contention or claim
     20                that Coach Pope defaulted in these incidents?
     21         A.     Well, the only additional observation is
     22                that, you know, Coach Pope did take the
     23                online course of the National Federation of

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      1                High Schools, and he took it before these
      2                incidents occurred.      And I don't know what he
      3                learned from that.     But, seemingly, what he
      4                talked about in his deposition is that it
      5                didn't change the culture, the actions, the
      6                prevention steps necessary.        So that is an
      7                area for both he and Coach Eubanks haven't
      8                taken a course that is recommended and
      9                seemingly not to understand the basic
     10                definition of hazing, the actions that they
     11                could take proactively and the prevention
     12                recommendations that were included in that
     13                course.
     14         Q.     And what were the provision of matters that
     15                we should have taken?
     16         A.     Yes.    I think that there certainly ‐‐ even if
     17                there was not a school prohibition against
     18                hazing included in their code of conduct, at
     19                least the athletic department could have ‐‐
     20                there is no hazing within the department or,
     21                you know, if there's found it will be
     22                investigated, could affect play, status on
     23                the team, so forth.

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      1                        That ideally all the coaches could have
      2                done presentations and programs on what is
      3                hazing, how to identify hazing, how to report
      4                hazing, you know, different aspects of hazing
      5                prevention that they themselves as a coaching
      6                staff could have included.
      7         Q.     Anything else that Coach Pope should have
      8                done?
      9         A.     That's the primary area was just an
     10                observation of the understanding of hazing,
     11                seemed to be very, very limited for someone
     12                involved in the care and custody of children.
     13         Q.     So that I'm clear then, that's the only
     14                criticism you have with respect to Coach
     15                Pope?
     16         A.     Correct.     I don't recall him being involved
     17                in any of the complaints that came forward
     18                from before from before.
     19         Q.     Again, I just want to make sure we've got all
     20                of your opinions now with respect to Coach
     21                Pope?
     22         A.     Correct, yes.
     23         Q.     How about Coach Eubanks, what, if any,

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      1                criticisms or complaints do you have with
      2                respect to Coach Eubanks?
      3         A.     Well, you know, I think Coach Eubanks with
      4                Rodney Kim when he observed some of that
      5                troubling behavior, and I think that it was
      6                when there was the shaving cream and using
      7                the belts and being slapped.          You know, his
      8                only response was to knock it off, you know,
      9                as opposed to having that as an opportunity
     10                to do something of more affirmative action on
     11                his part.
     12                        I think also, you know, he again talked
     13                about his own discretion of how to handle
     14                these types of incidents with that.            And, you
     15                know, that was concerning as opposed to even
     16                following the policy and procedures of the
     17                code of conduct, about how it's reported
     18                through an Incident Report about, you know,
     19                in responding to the culture for that.
     20                        The other part with Rodney, too, that he
     21                had him doing these bear crawls in response
     22                to an allegation I think that he was
     23                smooching with his girlfriend or something or

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      1                acting disrespectful or something and, again,
      2                not using the defined code of conduct policy
      3                procedure to deal with students' problematic
      4                behavior, having them do bear crawls, which
      5                is not that I found, I didn't find that in
      6                the code of conduct as a list of consequences
      7                for problematic behaviors.
      8         Q.     What problematic behavior was it?
      9         A.     Well, I'm trying to recall if he was being
     10                disrespectful to a teacher or if he was
     11                caught kissing his girlfriend, but it was
     12                something that he was engaging in with
     13                someone considered as being problematic
     14                behavior.
     15         Q.     I'm sorry.   Who was kissing his girlfriend?
     16         A.     Well, I think that Rodney was kissing his own
     17                girlfriend, I think that's the recollection.
     18         Q.     Again, I just need for you to tell me so that
     19                we won't be surprised at trial.
     20         A.     Well, let me make it more ‐‐ regardless of
     21                what Rodney was doing, someone complained to
     22                Coach saying this student is behaving in this
     23                way that's concerning.     And Coach Eubanks

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      1                took it upon himself to discipline Rodney for
      2                some type infraction that had absolutely
      3                nothing to do with football or athletics
      4                seemingly by having him do bear crawls that's
      5                not listed in the student code of conduct as
      6                a prescribed consequence for any action that
      7                I could find.     And so ‐‐
      8         Q.     What should he have done?        I'm sorry I
      9                interrupted you.
     10         A.     What did you ask?
     11         Q.     What should he have done?
     12         A.     Well, it seemed as though that they had a
     13                number of assistant principals that were in
     14                place primarily to help redirect students'
     15                behavior in a positive direction, ideally.
     16                So if there's concerning behaviors that is
     17                outside of, you know, something that happened
     18                right in front of him as part of the football
     19                program, to have reported that.
     20         Q.     Reported ‐‐
     21         A.     To the assistant principal.
     22         Q.     All right.    So it's your testimony, in your
     23                opinion, that Coach Eubanks should have

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      1                reported what to the assistant principal?
      2         A.     Whatever that initial complaint was about
      3                Rodney.    Again, I'm trying to recall if it
      4                was that a different teacher saw Rodney
      5                kissing his girlfriend or if it was Rodney
      6                was disrespectful to a teacher.          But
      7                regardless, it was something other than what
      8                Coach Eubanks necessarily witnessed or being
      9                involved with and certainly didn't have
     10                anything to do with football.
     11         Q.     So you've now told me about all the
     12                complaints or problems you see with Coach
     13                Eubanks?
     14         A.     I believe so.     And again, you know, just the
     15                only other thing was that, you know, he had
     16                gone through the online course, even though
     17                it was, you know, I think it was in early
     18                2019 that he actually completed it after
     19                these incidents.      But even having the most
     20                recent, going through that, didn't seem to
     21                recall the content of that course and wasn't
     22                able to give I think an accurate
     23                understanding of what hazing was and why it

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      1                was an important issue.
      2         Q.     And what was the content of that program that
      3                you ‐‐
      4         A.     The National Federation of High School has an
      5                online course.      As I referenced earlier, the
      6                Alabama Athletic Association encourages
      7                students and coaches to take this on
      8                bullying, hazing, and I don’t know if it's
      9                problematic behavior or concerning behavior,
     10                and it's an online course with those topics.
     11         Q.     And what was is it that he didn't comply with
     12                respect to the online program?
     13         A.     Well, one of the ‐‐ when the beginning
     14                pieces, especially in the hazing, is it gives
     15                a definition and examples, and so the coaches
     16                and students have an understanding of what it
     17                means.     Because as I talked about at length,
     18                that there can be a misunderstanding or a
     19                different perception of the behavior and not
     20                appreciating the possible severity.
     21                        And Coach Eubanks didn't seem to really
     22                understand that and didn't seem to be able to
     23                identify the problematic behavior as anything

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      1                other than, I think, he even used the term
      2                horseplay.
      3         Q.     What problematic behavior was it?
      4         A.     That when he was shown the videos that were
      5                produced in evidence, that he was describing
      6                that as, like, horseplay and, you know,
      7                rough‐housing and just students, boys will be
      8                boys, is the attitude that seemed to be
      9                suggestive.
     10         Q.     What videos are you talking about, sir?
     11         A.     That was provided, an incident, it was the
     12                video of Rodney Kim.     I think he was shown
     13                the video of the earlier or another incident
     14                where it seemed like a fight club that was in
     15                the locker room as well.      I can't recall if
     16                he was shown Jeremiah's, but certainly the
     17                two that were in the locker room.
     18         Q.     And how did he describe those, sir?
     19         A.     Well, the best of my recollection, he was
     20                calling them rough‐housing, you know, boys
     21                will be boys, not to a level of severity that
     22                would ‐‐ especially that, you know, that
     23                warranted those students to be separated from

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      1                the school and arrested.      So you would think
      2                that he would describe them in more accurate
      3                terms than just rough‐housing or horseplay.
      4         Q.     I'm sorry.   Which students should have been
      5                suspended?
      6         A.     The students that assaulted ‐‐ the students
      7                that assaulted Rodney but also assaulted
      8                Jeremiah.
      9         Q.     Any other students that should have been
     10                suspended or separated from the school?
     11         A.     Well, those that were identified.        I know
     12                that they went through a process of
     13                interviewing the coaches to try to get a
     14                definitive list of that.      And so I don’t know
     15                if they had a complete list or not.
     16         Q.     So you've now told me about all the
     17                criticisms you have of Coach Eubanks?
     18         A.     Yes, I believe I have.
     19         Q.     What's the other coach?
     20         A.     With Coach Miller?
     21         Q.     Please.   What criticisms or issues do you
     22                have with Coach Miller?
     23         A.     Again, it's similar to Coach Pope except he

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      1                did not take the voluntary course for that.
      2                So I can't criticize him about not learning
      3                that, but his definition of what hazing is
      4                and any actions or inaction they could have
      5                taken.
      6         Q.     What could he have done?
      7         A.     Well, you know, the environment I think was
      8                pretty known.     I don't have the specifics
      9                where Coach Miller was personally aware of
     10                that, but how he described the behaviors that
     11                he saw, again, he was categorizing those as
     12                rough‐housing, as horseplay and just
     13                diminishing the severity, the savageness of
     14                those beatings.     You know, as a teacher you
     15                see a child engaged in that type of physical
     16                assault, I would have expected a different
     17                response.
     18         Q.     And what was it that Coach Miller observed
     19                that should have created more of a response?
     20         A.     Yes.    I'm referencing again when he was shown
     21                the videos during deposition.
     22         Q.     Is there any evidence that he saw any of
     23                those incidents?

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      1         A.     Not that I was able to get from the
      2                deposition or reports, no.
      3         Q.     Is there any evidence that any of the coaches
      4                ever saw any of these incidents?
      5         A.     Well, yes, with, as I said, Coach Eubanks
      6                walked in when Tre Betts was ‐‐ being
      7                dog piled and was being beaten.         And Coach
      8                Riley told them to, you know, break it up,
      9                you dumb asses.
     10         Q.     I'm sorry, you said Coach Eubanks ‐‐
     11         A.     Oh, I'm sorry.    That was Coach ‐‐
     12         Q.     Are you confused?
     13         A.     I thought you wanted a complete list of all
     14                the coaches.    I'm sorry.     With Coach Eubanks?
     15         Q.     I'm sorry, please do.
     16         A.     So Coach Eubanks was when Rodney Kim was
     17                being ‐‐ with the shaving cream and the belts
     18                and being slapped, Coach Eubanks' response to
     19                that was to knock it off.       That's the ‐‐
     20                other than Coach Riley, that's my
     21                recollection of any of the coaches that
     22                observed that behavior.
     23         Q.     So based upon your study and review of all

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      1                the evidence in this case, the only issue you
      2                have is Coach Eubanks saw somebody and said
      3                knock it off, one of these incidents, said
      4                knock it off?
      5         A.     Well, and again, when I said that he should
      6                have not disciplined Rodney Kim by having him
      7                do bear crawls, he should have referred him
      8                to the assistant principals for disciplinary
      9                action if needed.
     10         Q.     What kind of disciplinary action would you,
     11                as an intervenor, have prescribed for Rodney
     12                Kim for being involved in those ‐‐ is it two
     13                incidents you say?
     14         A.     For the life of me, I can't recall if it was
     15                being disrespectful to a teacher or kissing.
     16                And I would have to look in the student code
     17                of conduct which in many areas is complete
     18                with a graduated list of consequences
     19                depending on the frequency and the severity
     20                for that.
     21         Q.     If you've reviewed the code of conduct, what
     22                should have been done with respect to these
     23                two incidents that were observed?

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      1         A.     Again, depending on the context, I think that
      2                the variability of that.      Again, the report
      3                was without great detail of what all was
      4                involved, it was a short sentence, and so not
      5                having the completeness to know the severity
      6                of those infractions.     But certainly even the
      7                conversation with an assistant principal can
      8                be beneficial about deportment and respect
      9                and communication.
     10         Q.     So that I'm clear then, it's your opinion
     11                that this matter should have been handled by
     12                the assistant principals and not by
     13                Coach Eubanks; is that your opinion?
     14         A.     That’s correct.
     15         Q.     And you've now told me about Coach Eubanks
     16                is the one person who observed one of these
     17                incidents for which this lawsuit has been
     18                filed?   Any other coach make any observations
     19                that you are critical of in that report?
     20         A.     Other than Coach Riley.
     21         Q.     Tell me what Coach Riley observed.
     22         A.     Well, with Lyman Collins, there was behavior
     23                that he actually imparted on him that's

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      1                concerning.     With Tre Betts ‐‐
      2         Q.     What was that?
      3         A.     That Coach Riley with the stomach bumps, with
      4                the humiliation, you know, about the
      5                "sissy‐itis," about the cripple crew, about
      6                those types of interactions that he had with
      7                Lyman.
      8         Q.     All right.     That's what I need for you to
      9                tell me what those interactions were so we've
     10                got a clear record?
     11         A.     Yes, as I just said, the best of my
     12                recollection, had to do with the stomach
     13                bumps that he had as he was being
     14                aggressively interacting with him, the
     15                interaction they had with calling him a sissy
     16                or "sissy‐itis," that.        They talked
     17                about those that were on the cripple crew,
     18                those that were injured.
     19                        There was also the seemingly disparaging
     20                about needing extra tutoring going a third
     21                day out of the week instead of two and
     22                questioning how he was going to ‐‐ why that
     23                was necessary.      But I've listed those on page

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      1                13, those are ‐‐
      2         Q.     That's a complete list?
      3         A.     Those are a list that I have, yes.
      4         Q.     So at trial these are the only items that
      5                you're going to bring up on page 13?
      6         A.     For Lyman Collins it is.     I think I also said
      7                that, with Jeremiah, Coach Riley observed him
      8                getting punched in the ribs in the locker
      9                room and that his ‐‐ Coach Riley's response
     10                was to look at him, smile, take a lick at his
     11                ice cream cone and walk out for that.         And
     12                again, with Tre Betts, when he was being dog
     13                piled how coach, you know, called him ‐‐
     14                called the students dumb asses and telling
     15                them to break it up.
     16         Q.     Anything else?
     17         A.     No, I believe that that's it.      The only other
     18                is with the resource officer took statements
     19                from different players that seemed to
     20                substantiate that type of behavior by a coach
     21                but not specific incidents.
     22         Q.     Did any of the players who were interviewed
     23                indicate that any of the coaches that

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      1                observed any other incidents?
      2         A.     That involved Jeremiah and Tre?
      3         Q.     Any incident?
      4         A.     I would ‐‐ I can't ‐‐ not that I can recall.
      5         Q.     And if you recall, you're going to let your
      6                lawyer know?
      7         A.     Or it's in the report for that.
      8         Q.     What report?
      9         A.     The report that I provided to you that I
     10                believe that if there were incidents where he
     11                was observed by others that was engaged in
     12                that behavior, I believe I would have listed
     13                it in the report.      At this stage in the
     14                afternoon, I just can't recall if I included
     15                or had incidents to that or not.
     16         Q.     Well, do we need to take a break because I do
     17                need a complete record so that I'm not
     18                surprised?   Do you want to take a break
     19                because we are going to ask that you review
     20                your deposition and tell us if there are any
     21                changes?   So, in fairness to you, would you
     22                like to take a break now?
     23         A.     Not at this time.

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      1         Q.     All right.   So you're capable mentally and
      2                physically to go on with the deposition?
      3         A.     I believe so, yes.
      4         Q.     All right, sir.    Because I guess what I hear
      5                you saying is you don't know of any evidence
      6                that any of the coaches observed any other
      7                incidents for which this lawsuit has been
      8                filed?
      9         A.     Other than the victims that experienced it
     10                themselves and through their depositions
     11                reported that this was the behavior, that
     12                this was what was witnessed by either
     13                Coach Eubanks in the one case or by
     14                Coach Riley.
     15         Q.     Which you've told me about?
     16         A.     That I have told you about.
     17         Q.     All right.   Did any of the players who were
     18                interviewed by Resource Officer Eric Terry
     19                indicate that any of the coaches had observed
     20                any of the incidents?
     21         A.     I don't believe so because I have the report
     22                in front of me and ‐‐
     23         Q.     Well, now, take your time because we do need

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     1                an accurate record.
     2         A.     I appreciate that, thank you.         No, I don’t
     3                believe that there are any of the individuals
     4                that were interviewed by the resource
     5                officer, Terry, made that statement.
     6         Q.     Made what statement?
     7         A.     That it was observed by a specific coach.
     8         Q.     Or any coach?
     9         A.     By any coach.
    10         Q.     Now, we were talking about Coach Miller and I
    11                asked you what, if any, criticisms or
    12                complaints you had with respect to Coach
    13                Miller?
    14         A.     And I think I gave you a complete response is
    15                that, you know, it seemed to be just
    16                generally that he was not protecting the
    17                students that were in his care that were
    18                engaged in this type behavior and by not
    19                providing that supervision to ensure that
    20                they were safe.
    21         Q.     I'm sorry.   I thought you just said what he
    22                observed or none of the coaches observed any
    23                of these incidents?

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     1         A.     That's what I mean is that you asked if there
     2                was a criticism.      My criticism is that they
     3                were not observant.       They were not
     4                supervising.     They were not in the spaces
     5                where their students who they had a
     6                responsibility for were gathering and then
     7                involved in this type of activity.
     8         Q.     What evidence do you have with respect to
     9                Coach Miller?
    10         A.     That he was not there when these incidents
    11                occurred in the locker room and ‐‐
    12         Q.     I'm sorry.
    13         A.     And that he and/or the other coaches should
    14                have been in that space.
    15         Q.     I guess I'm puzzled.       As I understand it, you
    16                don't have any evidence that any of the
    17                coaches were present or observed any of these
    18                ‐‐ what did you say ‐‐ I guess, maybe I just
    19                don't understand your reasoning for having a
    20                complaint against Coach Miller?
    21         A.     As I attempted to provide, industry standards
    22                that are listed, you know, from a recent
    23                article by National Federation of High School

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     1                talks about supervision, especially
     2                supervision of locker rooms.        And from what
     3                was provided to me, it was inadequate
     4                supervision by the coaches who had the
     5                responsibility for the student athletes that
     6                are in their care during that set period of
     7                time.
     8         Q.     All right.   And what recent article are you
     9                talking about, sir?
    10         A.     It was one that I had just sent the court
    11                reporter, to Jennifer.
    12         Q.     What do you mean recent?
    13         A.     It was published in ‐‐ it was on the website
    14                for the National Federation of High Schools,
    15                I believe, last month.
    16         Q.     I'm sorry.   Let’s see, it's, what, February
    17                of 2021, you say it was published in January
    18                of 2021?
    19         A.     Well, the one article that I saw there was
    20                from that date, that was the one I was
    21                referencing.    But the issue of supervision of
    22                locker rooms is documented well before then.
    23                That was the article that caught my eye that

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     1                produce your material to support your
     2                opinion.
     3         A.     Not to your satisfaction, obviously.
     4         Q.     Well, I guess it's going to be up to the
     5                courts whether they feel like it's
     6                satisfactory.
     7         A.     Okay.
     8         Q.     You had a Subpoena Duces Tecum two weeks
     9                before your deposition was taken.          So you've
    10                now told me about all of the criticisms you
    11                have for the four coaches who have been sued
    12                in this case?
    13         A.     Correct.
    14         Q.     What criticisms, if any, do you have of
    15                Mr. Copeland, the principal?
    16         A.     Well, again, it has to do with the code of
    17                conduct of while the principal may not
    18                develop policy, he certainly is a key player
    19                that could have made recommendations to the
    20                superintendent and to the board about this
    21                topic.   So similar to what I mentioned with
    22                the coaches is the lack of overarching,
    23                prevention and notice and acknowledgment that

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     1                hazing is an issue and ways to effectively
     2                respond to that.
     3         Q.     How would he have done that, sir?
     4         A.     Well, one of the things that he, by
     5                leadership, is to have publicly talked about
     6                how hazing is not allowed that may reference
     7                code of conduct, could have brought in
     8                outside speakers, could have done surveys of
     9                the students, former students, could have
    10                interviewed those who have quit the team or
    11                activities to inquire why.
    12                        He could have set up anonymous reporting
    13                systems in order to gather more data that
    14                could have been discreet instead of asking
    15                victims to come forward to see if friends of
    16                those who have been impacted.          There are a
    17                variety of different ways.
    18                        He could have sent his staff to
    19                different workshops.        He could have had an
    20                expectation that the staff took the online
    21                course and created an opportunity of
    22                discussion.     He could have had the students
    23                take the online course as well.           That's just

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     1                some of the ideas.
     2         Q.     Anything else?     Yes, sir.     I need to get a
     3                complete list so that we know what you're
     4                going to testify to at trial with respect to
     5                Principal Copeland.       Anything else?
     6         A.     No, I believe that would be comprehensive.
     7         Q.     All right.    Are we going to hear anything
     8                else at trial?
     9         A.     It's not my intention unless there's more
    10                material that comes forward.
    11         Q.     Have you asked for any additional material
    12                from your lawyers?
    13         A.     I did inquire when Coach Riley was going to
    14                be deposed.
    15         Q.     Have you asked for any additional material?
    16         A.     No.
    17         Q.     So you've now told me all of your complaints
    18                and criticisms of Principal Copeland; is that
    19                correct, sir?
    20         A.     Yes.
    21         Q.     Now, what complaints or criticisms do you
    22                have of Ms. Peek?
    23         A.     Well, as being the CEO of the school

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     1                organization, the leader of that, I would
     2                have expected that there would have been
     3                compliance with the hazing statute, that she
     4                would have made recommendations that be
     5                included in the student handbook as well as
     6                in the student code of conduct.
     7                        I think to have set up where in her
     8                testimony she talked about the response to
     9                hazing was a policy, the response was simply
    10                the expectation that if it was a policy, it
    11                was going to change the behavior.           And so as
    12                a leader of the organization, she could have
    13                done ‐‐ provided the resources for the staff
    14                to be trained, for the individuals to have
    15                had a policy about that and for it to be
    16                re‐enforced.
    17         Q.     Anything else, sir?
    18         A.     I believe that's comprehensive.
    19         Q.     Well, is that going to be your testimony at
    20                trial?
    21         A.     Yes.
    22         Q.     Anything else that's going to be mentioned by
    23                you with respect to Ms. Peek?

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     1         A.     Other than if there's something else that is
     2                in the report that I've given you, but I
     3                believe I have covered that all.
     4         Q.     Well, that's why I'm asking you the question.
     5         A.     Well, then ‐‐
     6         Q.     You've got the report in front of you.            If
     7                you will, I need to know now, what criticisms
     8                or complaints do you have with respect to
     9                Ms. Peek?
    10         A.     As what is listed in my report and as I said,
    11                previously with those other criticisms.            You
    12                know, concern that she did not have an
    13                anti‐hazing policy with that.
    14         Q.     Anything else?
    15         A.     That the superintendent did not have an
    16                adequate knowledge base to develop policies
    17                specific to hazing.
    18         Q.     Anything else?
    19         A.     That is it.
    20         Q.     All right, sir.     So you've now told me about
    21                all the criticisms you have with respect to
    22                Ms. Peek, Mr. Copeland, and the four coaches
    23                who have been sued in this case; is that

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     1         Q.     And what staff development programs have you
     2                developed?
     3         A.     Part of my responsibility as Dean of Students
     4                was ensuring that we were compliant with
     5                various state and federal law.           So there was
     6                staff training specifically for substance
     7                abuse for Title 9 issues with various forms
     8                of sexual harassment, sexual assault, and
     9                sexual misconduct.       I did specific staff
    10                training for athletics with both Title 9 and
    11                for hazing.     I also chaired our behavioral
    12                assessment team.       So I would train faculty on
    13                how to identify the danger ‐‐ the dangerous,
    14                disruptive and disturbing student and how to
    15                intervene and refer.
    16                        I also chaired our division emergency
    17                response system so we'd have to do training
    18                for staff on how to differentiate and respond
    19                to a variety of different emergencies that
    20                would occur on a college campus.           Those are
    21                the ones that come to mind that I provided.
    22         Q.     Now, your job as a counselor and
    23                administrator was to ensure and maintain

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     1                student safety at Alfred University; is that
     2                correct?
     3         A.     Yes.
     4         Q.     And because of your job was student safety
     5                with Alfred University necessary for you to
     6                develop all the policies to ensure student
     7                safety?
     8         A.     Yes.    The Dean of Students has the
     9                responsibility to have the student handbook
    10                and the code of conduct, making sure we're
    11                compliant and up to date.
    12         Q.     And can we agree that Alfred University also
    13                developed all necessary procedures to
    14                implement the safety policies at Alfred
    15                University?
    16         A.     To the best of our ability, yes.
    17         Q.     And can we agree that based upon your
    18                expertise and student safety with the
    19                policies and procedures developed at Alfred
    20                University were complete and comprehensive?
    21         A.     Complete is a challenging concept because,
    22                for example, with COVID, even though while I
    23                was working at the University, we had

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